            Case 8:21-cv-01807-ADS Document 7 Filed 11/15/21 Page 1 of 1 Page ID #:80
 NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) OR PRO PER:




 ATTORNEY(S)FOR   Plaintiff John Doe

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                CASE NUMBER
John Doe, an individual,
                                                                                                    8:21-cv-01807-ADS

                                                                Plaintiff(s),   1------------------------
                                     V,
                                                                                 STATEMENT OF CONSENT TO PROCEED BEFORE A
Regents of the University of California, a California                                 UNITED STATES MAGISTRATE JUDGE
corporation; and Does 1 to 50 inclusive,
                                                                                 (For use in Direct Assignment of Civil Cases to Magistrate
                                                               Defendant( s)                        Judges Program only)

      (THIS FORM SHALL BE USED ONLY FOR CASES IN WHICH A MAGISTRATE JUDGE IS INITIALLY
                           ASSIGNED PURSUANT TO LOCAL RULE 73-2.)

In accordance with General Order 11-06 and Local Rule 73-2 the above-captioned civil matter has been randomly assigned to
Magistrate Judge Autumn D, Spaeth                                             , All parties to the above-captioned civil matter
are to select one of the following two options and file this document with the Clerk's Office.

~         The party or parties listed below to the above-captioned civil matter consent pursuant to the provisions of 28 U.S.C §
          636(C) and F.R,Civ,P. 73(b), to have the assigned Magistrate Judge conduct all further proceedings in the case,
          including trial and entry of final judgment.

          Any appeal from a judgment of the assigned Magistrate Judge shall be taken to the United States Court of Appeals in
          the same manner as an appeal from any other judgment of the District Court in accordance with 28 U,S.C § 636(c)(3),

D         The party or parties listed below to the above-captioned civil matter do not consent to proceed before the assigned
          Magistrate Judge,

          The party or parties listed below acknowledge that they are free to withhold consent without adverse substantive
          consequences.


    Name of Counsel (OR Party if Pro Per)                            Signature and date              Counsel for (Name of Party or Parties)

Mark Hathaway
                                                        7~
                                                               A~                        11/15/21   PlaintiffJohnDoe
                                                                                                    ---------------




D         Party filing this form shall check this box if all parties have consented to proceed before the assigned
          Magistrate Judge,


NOTICE TO COUNSEL FROM CLERK:
All parties having consented to proceed before the assigned Magistrate Judge, this case will remain assigned to United States
Magistrate Judge                                                            for all further proceedings.

CV-I IC (06/11)          STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE
                                (For use in Direct Assignment of Civil Cases to Magistrate Judges Program only)
